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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                          Case No. 07-20099-16-JWL


Cesar Osbaldo Armendariz Soto,

                    Defendant.

                                 MEMORANDUM & ORDER

        In August 2009, Cesar Osbaldo Armendariz Soto pled guilty to, among other crimes,

conspiracy to distribute and possession with intent to distribute marijuana and cocaine and

knowingly using a firearm in furtherance of drug trafficking activities. Mr. Armendariz Soto’s

total offense level was calculated as 42. With a criminal history category of I, the resulting

advisory sentencing range was 360 months to life imprisonment. The court imposed a sentence

of 420 months, which included the mandatory 60-month consecutive sentence for the § 924(c)

violation.

        This matter is before the court on Mr. Armendariz Soto’s motion for reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2) in which he asks the court to reduce his sentence

based on Amendment 782 to the United States Sentencing Guidelines which took effect on

November 1, 2014 and lowers the base offense levels in the Drug Quantity Table. Under the
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amended guidelines, Mr. Armendariz Soto’s total offense level is 40. With a criminal history

category of I, his amended guideline range is 292 months to 365 months imprisonment. In his

motion for reduction, Mr. Armendariz Soto requests that the court resentence him to 292 months

imprisonment, the low end of the range, with the understanding that the 60-month consecutive

sentence on the firearm conviction must remain in place. The government does not oppose the

motion. Because the government does not oppose, and because the record otherwise indicates

that a reduction is authorized and warranted, the court, consistent with its practice, will

resentence Mr. Armendariz Soto to the low-point of the amended range as it did in connection

with Mr. Armendariz Soto’s original sentence.



      IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Armendariz Soto’s

motion for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1001) is granted and

Mr. Armendariz Soto’s sentence on Counts 1, 10 and 15 is reduced from 360 months to 292

months imprisonment for a total controlling term of 352 months. All other provisions of the

judgment dated November 15, 2010 shall remain in effect.



      IT IS SO ORDERED.



      Dated this 28th day of October, 2015, at Kansas City, Kansas.


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       Effective Date: November 1, 2015.



                                           s/ John W. Lungstrum
                                           John W. Lungstrum
                                           United States District Judge


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